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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



JOHN T. PERGERSON JR.,                              CV No.: 3:20-cv-01248-MK



                      Plaintiff,
                                                    ORDER APPROVING PLAINTIFF'S
                                                    MOTION FOR ATTORNEY FEES
                                                    PURSUANT TO 42 U.S.C. § 406(b)


COMMISSIONER SOCIAL SECURITY,

                      Defendant.


       After considering Plaintiff's Motion for Attorney Fees, and counsel for Defendant having

no objection, Order is hereby granted in the sum of $7,816.65 for attorney fees pursuant to 42

U.S.C. § 406(b). The Commissioner shall deduct from this amount an administrative assessment

under 42 U.S.C. § 406(d) and pay Plaintiff’s counsel the balance.


       IT IS SO ORDERED this 3rd day of December 2021.


                                                    s/ Mustafa T. Kasubhai
                                                     MUSTAFA T. KASUBHAI
                                                    United States Magistrate Judge




PRESENTED BY:
Robyn M. Rebers OSB#034309
Attorney for Plaintiff
503-871-8890

Order for EAJA Fees                                                           3:20-CV-01248-MK
